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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. 07-CV-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER ACCEPTING WITHDRAWAL
                                                                         10   This Order Relates To:                  )   OF SPECIAL MASTER
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                         13
                                                                         14        The Court has received a notice from Special Master James
                                                                         15   Larson indicating his desire to withdraw as a Special Master from
                                                                         16   this case, attached hereto.      After ex parte discussion with the
                                                                         17   Special Master and due consideration for his personal reasoning,
                                                                         18   the Court accepts his withdrawal.
                                                                         19        Former Special Master James Larson may submit a bill to
                                                                         20   appropriate parties for his fees or those of his clerk for work
                                                                         21   completed between his appointment and the date of this Order.
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                                                                         23        IT IS SO ORDERED.
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                                                                         25        Dated: September 30, 2015
                                                                         26                                      UNITED STATES DISTRICT JUDGE
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